
USCA1 Opinion

	










          January 22, 1997
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 96-1024
                                   FLOR MARIA SOTO,
                                 Plaintiff, Appellee,

                                          v.

                                CARLOS FLORES, ET AL.,
                               Defendants, Appellants.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET


            The opinion of  this Court issued on January 13, 1997 is corrected
        as follows:

            On cover sheet, line 26: substitute "Laffitte" for "Lafitte".

            On page  21, line 2:  substitute "Kneipp v. Tedder,  95 F.3d 1199,
                                              ______    ______
        1201 (3d Cir. 1996)" for "Kneipp, 95 F.3d at 1201".
                                  ______











































                            United States Court of Appeals
                                for the First Circuit

                                 ____________________


        No. 96-1024

                                   FLOR MARIA SOTO,

                                Plaintiff, Appellant,

                                          v.

                                CARLOS FLORES, ET AL.

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Jose Enrique  Colon Santana, with whom  Gary Broida  was on brief,
            ___________________________             ___________
        for appellant.
            Vannessa  Ramirez,  Assistant  Solicitor  General,  Department  of
            _________________
        Justice, with  whom Carlos Lugo-Fiol, Solicitor General,  was on brief
                            ________________
        for appellees.
                                 ___________________
                                   January 13, 1997
                                 ____________________



















                      LYNCH, Circuit Judge.   On  April  21, 1991,  Angel
                      LYNCH, Circuit Judge.
                             _____________

            Rodriguez shot  to  death his  two  young children  and  then

            killed  himself.     This tragedy  occurred  four days  after

            Rodriguez's wife,  Flor Maria Soto, complained  to the police

            about  the  physical  and  emotional abuse  she  suffered  at

            Rodriguez's  hands.    The   police,  knowing  Rodriguez  had

            threatened to kill Soto  and her family  if Soto went to  the

            police to have him jailed for his  spousal abuse, nonetheless

            violated  their obligations  of confidentiality  and informed

            Rodriguez of Soto's complaints.   Having done so,  the police

            did not jail Rodriguez or take  steps to protect Soto and her

            family.   Soto's lawsuit alleges  that Rodriguez did  what he

            had  threatened to do and that the state created this danger.

            Rather than pursue  any claims available to  her under Puerto

            Rican law, Soto chose to bring suit in federal court alleging

            constitutional tort theories.

                      Soto brought suit under  42 U.S.C.   1983, claiming

            that the actions of  the defendants, Carlos Flores, a  police

            officer,   and   Ismael   Betancourt-Lebron,  Puerto   Rico's

            superintendent  of police,  violated her  and her  children's

            rights to substantive due process  and to equal protection of

            the  laws.   The district court  granted summary  judgment in

            favor  of  the defendants.   We  do  not reach  the difficult

            question of whether Soto, in her capacity as a representative

            of  her dead children, has presented a due process claim that

            would  survive summary  judgment,  because we  find that  the

















            defendant  officers  are protected  by qualified  immunity on

            that  claim.   As to the  equal protection claim,  we adopt a

            standard  for  measuring  such  claims  in  domestic violence

            cases.   Testing the evidence against that  standard, we find

            that   Soto  has   not   adduced   sufficient   evidence   of

            discriminatory   intent   to   survive    summary   judgment.

            Accordingly, we affirm the district court.                   

                                       I. Facts

                      We recite  the facts in the light most favorable to

            the  plaintiff, the  party opposing  summary judgment.   Flor

            Maria Soto married Angel  Rodriguez, nicknamed Rafi, in 1981.

            Rodriguez  and Soto had two children: Sally was born in 1983,

            and  Chayanne, a  boy, in  1988.   Approximately a  year into

            their marriage, Rodriguez began to abuse Soto emotionally and

            physically.    This  abuse,  often connected  to  Rodriguez's

            drinking, continued throughout their marriage.  The abuse was

            apparent  to family  and friends.   As  one neighbor  put it,

            "anyone who visited them could tell that [Soto] was an abused

            wife." Despite his constant  mistreatment of Soto,  Rodriguez

            never abused the children. 

                      Rodriguez did gardening and vehicle repair work for

            the police  officers at Palmer Police  Station, a sub-station

            of  the Rio  Grande  precinct.   Rodriguez  was friends  with

            several of  the officers from Palmer  Station, including Luis





                                         -3-
                                          3















            Carrasquillo-Morales  ("Carrasquillo")1 and  defendant Carlos

            Flores-Moreira ("Flores").    Rodriguez visited  the  station

            almost daily.   Many of the  officers, when on patrol  in the

            area,   would visit the  Rodriguez-Soto home for  coffee or a

            drink.    Flores  and Rodriguez  were  particularly friendly;

            about once  a week, during  his patrol  rounds, Flores  would

            stop by the house for an hour's visit.

                      On Wednesday, April 17, 1991, Rodriguez struck Soto

            about  her face  and  neck,  bruising  her,  and  called  her

            insulting names.  When  Rodriguez fell drunkenly asleep, Soto

            gathered the children and went to her mother's house.  Soto's

            mother,  Hipolita Vega, convinced her to go to the police and

            file a  complaint.  In nine  years of beatings,  some of them

            worse than  the one on April  17, Soto had never  sought help

            because  she  believed  that  the police  would  do  nothing,

            because she had  nowhere to go, and because she was afraid of

            Rodriguez.    Rodriguez  had  threatened her  with  a  gun on

            several occasions and  told her  that he would  kill her  and

            other  members of  her  family if  she  went to  the  police.

            Knowing  that Rodriguez  was friendly  with the  police, Soto

            feared that the police would do nothing except tell Rodriguez

            that she had complained.  

                                
            ____________________

            1.  Carrasquillo was originally named  as a defendant in this
            action, but defaulted in the district  court proceedings.  In
            order to have a  final judgment from which she  could appeal,
            Soto  sought and  was granted  a  voluntary dismissal  of her
            claim against Carrasquillo.

                                         -4-
                                          4















                      On that night, despite her fear, Soto went with her

            mother and her children  to the Palmer Police Station.   When

            she arrived, she was met by  Flores, who was the desk officer

            on duty.   Flores could see  that Soto was crying  and marked

            with bruises, "pretty ugly hematomas."    Soto explained that

            Rodriguez had beaten her.  Flores then radioed for the patrol

            officers to come in and take her complaint, referring to Soto

            on the radio as "Rafi's wife" and saying that it was a Law 54

            case.  During  the fifteen  to twenty minutes  that Soto  and

            Flores waited for the patrol officers  to arrive, Flores told

            Soto that he himself had domestic violence problems, and that

            his wife wanted  him to be  put in  jail.  He  urged Soto  to

            patch things up  with Rodriguez.   Soto responded by  telling

            Flores that Rodriguez's  beatings were too much  to stand and

            that,  as Flores  knew,  Rodriguez was  a heavy  drinker, who

            became violent when drunk.  Soto told Flores about everything

            that Rodriguez  had done and what he would do to her.  Flores

            offered  Soto  the  opportunity  to  stay  overnight  at  the

            station.  

                      Sergeant Orta,2 the supervisor, arrived, and Flores

            told  him that Soto was "the lady with the Law 54 complaint."

            When  the  patrol officers,  Carrasquillo  and  Jose Serrano,

            arrived, Flores  said, "This is  Rafi's wife," and  told them

                                
            ____________________

            2.  The  district  court  denied  a  belated  motion  to  add
            Sergeant  Orta as a defendant.   No appeal  is taken from the
            denial of that motion.

                                         -5-
                                          5















            that she was there on a Law 54 complaint.   Carrasquillo took

            Soto into an interview  room, three steps away from  the desk

            at which Flores sat.  Soto  was nervous and crying.  The door

            to the  interview room remained open, and  Flores listened to

            everything  that  was  said   in  Soto's  conversation   with

            Carrasquillo.

                      In the interview room, Soto told Carrasquillo about

            Rodriguez's   behavior,   and   showed   him   her   bruises.

            Carrasquillo asked Soto whether she wanted  Rodriguez jailed.

            Soto  replied by  explaining her  situation to  the officers.

            Specifically, she told  Carrasquillo that Rodriguez  had told

            her that  if she put  him in jail,  he would get  out quickly

            because his family had money and that he would then kill her.

            She told Carrasquillo that Rodriguez had told her that if she

            attempted to put  him in jail,  he would kill her  mother and

            sisters so  that she would go  to the wake and  he would then

            kill her there.

                      Having told  the police officers  about Rodriguez's

            threats,  Soto  asked  them   to  do  what  was  appropriate.

            Although  Soto  did  not  use the  words  "domestic  violence

            complaint," she believed that  by describing her situation to

            the  officers  she  was  initiating  the  complaint  process.

            Carrasquillo  wrote  down  everything  she  said  during  the

            interview, and Soto assumed that he was drafting  a complaint

            against Rodriguez.



                                         -6-
                                          6















                      Soto's effort to get  police assistance came a year

            and a half after a new law aimed at curbing domestic violence

            had gone into  effect.   In November 1989,  the Puerto  Rican

            legislature  enacted one  of the nation's  most comprehensive

            domestic  violence laws,  the Domestic  Abuse  Prevention and

            Intervention  Act, known popularly as "Law  54."  In addition

            to defining criminal domestic  violence broadly, Law 54 makes

            arrest of an abuser mandatory whenever an officer has grounds

            to  believe that Law  54 has been  violated.   P.R. Laws Ann.

            tit.  8,    631-635, 638  (Supp. 1995).   Police officers are

            required  to take all  steps necessary to  prevent abuse from

            recurring,   including   providing   the   complainant   with

            information  about  social  services and,  if  she  expresses

            concern for her safety, with  transportation to a safe place.

            Id.   640.  Law 54  also requires that police officers file a
            ___

            written report on all domestic violence incidents, whether or

            not  any charges  are ever  filed.   Id.    641.   The police
                                                 ___

            superintendent  is   charged  with  establishing   "norms  to

            guarantee confidentiality with regard  to the identity of the

            persons  involved in  incidents of  domestic violence."   Id.
                                                                      ___

            Implementing  regulations  issued  by the  superintendent  of

            police  detail the  officer's responsibilities,  and instruct

            that  arrest  determinations  are   not  to  be  affected  by

            irrelevant factors, including victim  reluctance.   Rules and

            Procedures to Attend  to Domestic Violence  Incidents, Puerto



                                         -7-
                                          7















            Rico  Police  General  Order  No.  86-26m   (Rev.  1).    The

            regulations   explicitly  state   that  police   attempts  at

            mediation or reconciliation shall not substitute for  arrest.

            Id.  at 4.   The regulations  require that  domestic violence
            ___

            reports  be kept  confidential, in  separate files,  and that

            copies only be issued upon a court order.   Id. at 19.  These
                                                        ___

            regulations explicitly recognize that:

                      Domestic  violence . .  . frequently ends
                      in intra-family homicide  and it  affects
                      all   the   components  of   the  family,
                      including the children.

            Id. at 1.
            ___

                       Despite this legal framework, at the conclusion of

            his  interview  with  Soto,  Carrasquillo  took   no  action.

            Carrasquillo  did not  tell  Soto about  the availability  of

            battered women's shelters  or about procedures  for obtaining

            an  order of  protection.   Nor  did  he prepare  a  domestic

            violence report.   Instead,  Carrasquillo wrote up  an "Other

            Services  Report,"  which  falsely indicated  that  Soto  had

            visited  the  police  solely  for advice  relating  to  child

            custody.3  Soto returned to Vega's house. 




                                
            ____________________

            3.  Soto contends that she  signed a domestic violence report
            at  the station that night and that the Other Services Report
            produced  by the  defense is  an after-the-fact  forgery, and
            part  of  a cover-up,  which included  pressure on  Flores to
            commit perjury.   Her claim  of forgery is  supported by  the
            testimony  of a  handwriting  expert, and  Flores's testimony
            suggests that pressure was put on him.      

                                         -8-
                                          8















                      Carrasquillo  discussed  Soto's complaint  with his

            supervisor, Sergeant Orta, that  evening.  When Sergeant Orta

            signed  the   Other  Services   Report  he  did   so  despite

            information that this was a Law 54 situation and that the men

            under his supervision  were not doing what  the law required.

            Sergeant  Orta discussed  the  "Other  Services" report  with

            Flores.4     Flores  told him  that  Rodriguez and  Soto  had

            marital problems because Rodriguez  was an alcoholic.  Flores

            said he would talk to Rodriguez the next day. 

                      Sometime the  next day, April  18, Officer  Flores,

            despite knowing  of Rodriguez's  threats to commit  murder if

            Soto went to the police in an effort to jail him, went to the

            Rodriguez-Soto home and told  Rodriguez about Soto's visit to

            the police station.  That  night, Rodriguez arrived at Vega's

            home, very upset.   He  told Vega and  Glorivee Soto,  Soto's

            sister,  that "the boys" from the police station had told him

            that  Soto wanted to  put him in  jail and that  he would not

            allow that to happen.  Vega managed to calm him and he left.

                      The next day, Friday,  April 19, Rodriguez ran into

            the plaintiff  at  a local  tire  shop.   Rodriguez,  visibly


                                
            ____________________

            4.  A  police department internal  investigation followed the
            killings.  On  August 31, 1992,  the examiner concluded  that
            Carrasquillo and Sergeant Orta, the supervisor who signed the
            Other  Services  Report  prepared  by  Carrasquillo,  merited
            reprimands  for   failing  to  act  pursuant   to  the  norms
            established by Law 54.   Neither Betancourt-Lebron nor Flores
            was  a subject  of  that investigation,  although Flores  was
            interviewed regarding his knowledge of the events.

                                         -9-
                                          9















            upset, told plaintiff that  Officer Flores had been  to their

            home  and had told  him that Soto  was going to  throw him in

            jail.  Soto, fearing violence, denied  it.  She tried to calm

            Rodriguez down, but Rodriguez  kept repeating that Flores had

            told him she wanted him jailed. 

                      On  Saturday,  the  twentieth of  April,  Rodriguez

            again  came to  Vega's home  and invited  Soto to  the beach.

            Soto refused to  go, but  the children, excited  at the  rare

            prospect  of an outing with  their father, got  into the car.

            Rodriguez  did not bring the children back that day as he had

            promised.  Soto went twice  to try to pick them up,  but both

            times Rodriguez refused to give the children to her.

                      Finally, at  8:00 p.m.  on April 21,  Soto, mindful

            that the next day was  a school day, went back to  the family

            home determined to  get the children.   As she  stood on  the

            lawn, Soto heard  both children tell  Rodriguez that she  had

            arrived.  Sally shouted, "Run, Mommy, please run!"  Rodriguez

            then shot his  son in the forehead.  Soto  heard Sally say to

            her  father,  "Daddy, no,  Daddy, no."   Rodriguez  then shot

            Sally through her mouth.  Soto heard a third shot.  Rodriguez

            had killed himself.      When    the     police,    including

            Carrasquillo and  Serrano, arrived, Rodriguez was  dead.  The

            children were still alive  and the police rushed them  to the

            hospital.  Both children were dead on arrival.





                                         -10-
                                          10















                      On the wall  of the room  where Rodriguez shot  his

            children, Rodriguez  had  written a  message which  confirmed

            that Flores had told him of  Soto's visit to the police.  The

            message said,  among other things, "you left  me, and Officer

            Flores knows it," and "Law 54, which is only a tool for women

            to make men do whatever they want, is not liberty." 

                                II. Procedural History

                      Soto's initial section 1983 complaint  alleged that

            the  acts and omissions of Officer Flores deprived her of her

            rights  to due process and  to equal protection  of the laws.

            Additionally,  she  alleged  that Superintendent  Betancourt-

            Lebron  was liable  for  his failure  to  properly train  and

            supervise his subordinate officers.

                      After discovery, Flores and Betancourt-Lebron moved

            to dismiss,  and, in  the alternative, for  summary judgment.

            In  addition to arguing that  Soto's claims lacked merit, the

            defendants   asserted  that   they   were  entitled   to  the

            protections  of  qualified immunity.    In  an opinion  dated

            January 20, 1995, the  district court granted the  motion for

            summary judgment.   As to  the due process  claim, the  court

            held that, because an individual may not bring a section 1983

            action  for deprivation of due  process based on  injury to a

            family member, the death of Soto's children did not give rise

            to  a cognizable claim.   Soto v. Carrasquillo,  878 F. Supp.
                                      ____    ____________

            324, 327 (D.P.R. 1996)(citing Valdivieso-Ortiz v. Burgos, 807
                                          ________________    ______



                                         -11-
                                          11















            F.2d 6,  7-10 (1st Cir.  1986)).  As to  the equal protection

            claim, the court held  that Soto had failed to  adduce enough

            evidence  on discriminatory  intent  and causation  to defeat

            summary judgment. Soto, 878 F. Supp. at 331-32.
                              ____

                      Soto  requested  reconsideration;  as  part  of her

            motion, she asked for  leave to amend her complaint  to bring

            the action as a representative of her children.  The district

            court  treated the  complaint as  amended, but  dismissed the

            claim  on behalf  of  the  children,  holding  it  barred  by

            DeShaney v. Winnebago County, 489 U.S. 189 (1989).  The court
            ________    ________________

            accordingly denied Soto's  motion for reconsideration.   Soto

            appeals.

                             III. The Section 1983 Claims

                      Soto  presses  two  distinct claims.    First,  she

            alleges  that the  defendants' actions  violated her  and her

            children's rights to  due process.  Second, Soto asserts that

            the defendants  had  a custom  or  policy of  providing  less

            protection to victims of domestic violence than to victims of

            other  assaults,   that  this   was  the  result   of  gender

            discrimination,  that  this  caused her  injuries,  and  that

            defendants thus violated  her right to equal  protection.  We

            consider each of these claims in turn. 

                      A  claim  under  section  1983  has  two  essential

            elements.  First, the challenged conduct must be attributable

            to a person acting under color of state law (including Puerto



                                         -12-
                                          12















            Rico law); second, the  conduct must have worked a  denial of

            rights  secured  by  the  Constitution  or  by  federal  law.

            Martinez v. Colon, 54 F.3d 980, 984 (1st Cir.), cert. denied,
            ________    _____                               ____________

            116  S.  Ct. 515  (1995).   The  second element  requires the

            plaintiff to prove  not only a deprivation  of federal right,

            but also that the defendant's conduct was  a cause in fact of

            the   alleged   deprivation.     See   Maldonado-Santiago  v.
                                             ___   __________________

            Velazquez-Garcia, 821 F.2d 822, 831  (1st Cir. 1987)("Section
            ________________

            1983  imposes  a causation  requirement  similar  to that  of

            ordinary tort law.").  

            A. The Due Process Claim
               _____________________

                      Soto  claims that  the deaths  of her  children are

            attributable  to  the  defendants' actions,  and  that  those

            actions  deprived both her and her children of what she terms

            a  "substantive  due process  life  interest."5   We  examine

            separately Soto's individual claim and her claim on behalf of

            her children.

                      1.   Soto's Individual Claim.
                           ________________________

                                
            ____________________

            5.  Some victims  of abuse  have brought section  1983 claims
            alleging   that  official   nonfeasance   deprived  them   of
            procedural due  process.   See, e.g., Meador  v. Cabinet  for
            __________                 ___  ____  ______     ____________
            Human  Resources,  902 F.2d  474,  476-77  (6th Cir.),  cert.
            ________________                                        _____
            denied, 448 U.S. 867 (1990);  Coffman v. Wilson Police Dep't,
            ______                        _______    ___________________
            739 F. Supp. 257,  263-66 (E.D. Pa.  1990).  In these  cases,
            the plaintiffs argued that  state law made certain protective
            processes mandatory, and thus created entitlements subject to
            due  process  protection  against  deprivation.    See,  e.g,
                                                               ____  ____
            Coffman, 739 F. Supp at 263-64.  However, from our reading of
            _______
            the record, Soto  does not  appear to make  a procedural  due
            process   claim.    Thus,  we  do  not  address  whether  the
            protective provisions of Law 54 create such an entitlement.

                                         -13-
                                          13















                      The  district  court   held  that   Soto,  in   her

            individual  capacity, could  not  bring a  due process  claim

            based on injury to her children.   Soto, 878 F. Supp. at 327.
                                               ____

            On  appeal, Soto argues both that the district court erred in

            so  holding and  that  the injury  she  complains of  is  not

            limited to the loss of the companionship of her children, but

            also  comprehends   the  mental  anguish  she   has  suffered

            personally.

                      We review  the  district court's  grant of  summary

            judgment de novo.  Dominique v. Weld, 73 F.3d 1156, 1158 (1st
                     __ ____   _________    ____

            Cir. 1996).  We examine, viewing the record in the light most

            favorable to the nonmoving  party, whether the district court

            correctly  applied  the  substantive   law  and  whether  any

            disputed facts  have the potential  to change the  outcome of

            the suit.   See Martinez v.  Colon, 54 F.3d 980,  983-84 (1st
                        ___ ________     _____

            Cir. 1995).

                      There is no absolute constitutional right to  enjoy

            the  companionship  of one's  family  members  free from  all

            encroachments by the state.   See Valdivieso-Ortiz v. Burgos,
                                          ___ ________________    ______

            807  F.2d 6, 8  (1st Cir. 1986).   "State action that affects

            the parental relationship only incidentally . . . even though

            the deprivation may  be permanent . . . is  not sufficient to

            establish a  violation  of a  identified  liberty  interest."

            Pittsley v. Warish, 927  F.2d 3, 8 (1st Cir.),  cert. denied,
            ________    ______                              ____________

            502 U.S. 879 (1991).  Thus, the death of a family member will



                                         -14-
                                          14















            not  ordinarily  give  those  still alive  a  cognizable  due

            process  claim   under   section 1983.     See  Manarite   v.
                                                       ___  ________

            Springfield, 957 F.2d 953, 960 (1st Cir.)(child could not sue
            ___________

            police  for  failure  to  prevent  father's  suicide),  cert.
                                                                    _____

            denied, 506 U.S. 837 (1992); Valdivieso-Ortiz, 807 F.2d at 10
            ______                       ________________

            (stepfather and siblings had no cause of action  where prison

            guards beat inmate to death).  Here, the defendants' actions,

            despite the  tragic outcome,  were not specifically  aimed at

            ending  or affecting Soto's  relationship with  her children.

            Nor can Soto successfully distinguish her case from the cited

            precedents  of  this court  by  pointing  to  her own  mental

            anguish.   The question is not  one of a degree of suffering,

            but  whether  the  plaintiff  can establish  a  violation  of

            federal  right.     While   Soto's  loss  was   of  enormous,

            heartbreaking  magnitude, the  Constitution does  not protect

            against  all  harms.   She  herself  was  not  deprived of  a

            constitutionally protected interest, and  she may not bring a

            section 1983 due process claim on her own behalf.

                      2.    Soto's  Claim  as  a  Representative  of  Her
                            _____________________________________________

                      Children.
                      ________

                      In deciding Soto's  motion for reconsideration, the

            district court granted Soto's  request to amend her complaint

            so  as to bring a claim  as a representative of her children.

            The court then found that the children's claim was foreclosed





                                         -15-
                                          15















            by DeShaney, dismissed  the claim and  denied the motion  for
               ________

            reconsideration of the due process claim. 

                      Review of denial of a motion for reconsideration is

            for  abuse  of  discretion.    See  Airline  Pilots  Ass'n v.
                                           ___  ______________________

            Precision Valley Aviation,  Inc., 26 F.3d 220,  227 (1st Cir.
            ________________________________

            1994).   For  purposes  of this  appeal,  we consider  Soto's

            complaint,  as amended,  to determine  if the  district court

            committed   legal  error   in   holding  that   Soto,  as   a

            representative of  her children, failed to state a claim upon

            which  relief could  be  granted.    See  Cooter  &amp;  Gell  v.
                                                 ___  _______________

            Hartmarx,  496 U.S.  384, 405  (1990) (district  court abuses
            ________

            discretion  when it  makes  error of  law);  cf. Glassman  v.
                                                         ___ ________

            Computervision  Corp.,   90  F.3d  617  (1st   Cir.  1996)(in
            _____________________

            reviewing denial of leave to amend complaint, court considers

            whether complaint as amended would state cognizable claim).  

                      Defendants argue, and the district court held, that

            any claim on behalf of Soto's children is barred by DeShaney,
                                                                ________

            which held that "a  State's failure to protect an  individual

            against  private   violence  simply  does  not  constitute  a

            violation of the Due Process  Clause."  489 U.S. at 197.   We

            agree that if Soto's argument were simply that Flores and his

            brother  officers  failed   to  protect  her  children   from

            Rodriguez,  it  would clearly  fail.    See, e.g,  Pinder  v.
                                                    ___  ___   ______

            Johnson, 54  F.3d 1169 (4th  Cir.) (en  banc) (rejecting  due
            _______

            process claim  based upon police failure  to protect domestic



                                         -16-
                                          16















            violence  victim),  cert.  denied,  116 S.  Ct.  530  (1995);
                                _____________

            Balistreri   v. Pacifica Police Dep't, 901 F.2d 696 (9th Cir.
            __________      _____________________

            1990)(same).

                      However, Soto  alleges more than a  mere failure to

            protect.   She  claims,  and her  claim  has support  in  the

            record,  that Officer  Flores visited  Rodriguez at  home and

            told him that Soto had been to the police station and  wished

            to jail  him.  She further alleges that when he did so Flores

            was fully aware of  how Rodriguez would likely react  to this

            information,  not  only   because  Flores  knew   Rodriguez's

            character well,  but also because Flores  knew that Rodriguez

            had  threatened to murder her  and her family  members if she

            went to  the police and attempted to stop his abuse by having

            him  jailed.   Soto alleges  that Flores  misused information

            that he had obtained  in an official capacity, and  that this

            affirmative act rendered her  children more vulnerable to the

            danger posed by Rodriguez and thus led to their deaths.  

                      Soto  alleges that Flores's conduct violated a duty

            of   constitutional  dimension   owed  to   Soto's  children.

            DeShaney clearly establishes  that the state does not  have a
            ________

            constitutional  duty to  protect  its  citizens from  private

            violence.  DeShaney, 489 U.S. at 197.  However,  in DeShaney,
                       ________                                 ________

            the Supreme  Court also recognized a  distinction between the

            case before it and other cases in which the state created the

            risk faced by the plaintiff:



                                         -17-
                                          17















                      While the State  may have  been aware  of
                      the dangers that [the plaintiff] faced in
                      the free  world,  it played  no  part  in
                      their creation, nor did it do anything to
                      render him  any more vulnerable  to them.
                      [By returning the plaintiff child  to his
                      abusive  father, the State] placed him in
                      no worse position  than that in which  he
                      would have been had it not acted at all. 

            Id. at 201.  The situation here arises from the state actor's
            ___

            affirmative acts, which  played a part in creating the danger

            to  the children and  rendered them more  vulnerable to harm.

            Soto  thus contends  that  it  falls  outside  the  scope  of

            DeShaney, in  that it "implicates the  alternate framework of
            ________

              1983  liability  wherein  a  plaintiff  alleges  that  some

            conduct   by  an   officer  directly   caused  harm   to  the
                                        ________

            plaintiff."6   Pinder,  54  F.3d  at  1176 n.*  (emphasis  in
                           ______

            original);  see also Dwares v. City of New York, 985 F.2d 94,
                        ________ ______    ________________

            99 (2d Cir. 1993)("[T]hough  an allegation simply that police

            officers  had failed  to act  upon reports  of  past violence

            would not implicate the victim's rights under the Due Process

            Clause,  an allegation  that  the officers  in  some way  had




                                
            ____________________

            6.  The distinction between duty-to-protect cases and danger-
            creation  cases  was  colorfully  described  by  the  Seventh
            Circuit in Bowers  v. De Vito, 686 F.2d  616 (7th Cir. 1982).
                       ______     _______
            While holding that  "there is no  constitutional right to  be
            protected by the state against being murdered by criminals or
            madmen," Judge Posner pointed out that "[i]f the state puts a
            man in a  position of  danger from private  persons and  then
            fails  to  protect  him, .  .  .  it  is  as much  an  active
            tortfeasor as if it had thrown him into a snake pit."  Id. at
                                                                   ___
            618.

                                         -18-
                                          18















            assisted in creating or  increasing the danger to  the victim

            would indeed implicate those rights.").   

                      Not  every negligent,  or even  willfully reckless,

            state action that renders a person more vulnerable to  danger

            "take[s] on  the added  character of  [a] violation[]  of the

            federal  Constitution."    Monahan v.  Dorchester  Counseling
                                       _______     ______________________

            Ctr., Inc., 961 F.2d 987, 993 (1st Cir. 1992).  In a creation
            __________

            of risk situation,  where the  ultimate harm is  caused by  a

            third party,  courts must  be careful to  distinguish between

            conventional torts and constitutional violations, as well  as

            between  state inaction and action.  See id.; Pinder, 54 F.3d
                                                 ___ ___  ______

            at 1175-78.  

                      The scope  of any  permissible section  1983 action

            based  on  a  state-created  danger  theory  is  a  difficult

            question. See,  e.g., Pinder, 54  F.3d at 1175;  Monahan, 961
                      ___________ ______                     _______

            F.2d at  993-94.   Because we  find that  this  claim may  be

            resolved  on immunity grounds,  we choose  not to  reach this

            question. 

                      3. Qualified Immunity.
                      ______________________

                      Assuming arguendo that Soto had stated a claim that

            Flores   and   Betancourt-Lebron   violated  her   children's

            constitutional   rights,  the   issue  becomes   whether  the

            defendants are entitled, as they argue, to qualified immunity

            from suit.    There  are  two prongs  to  qualified  immunity

            analysis.   See St. Hilaire  v.  Laconia, 71 F.3d 20, 24 (1st
                        ___ ___________      _______



                                         -19-
                                          19















            Cir. 1995).  First, the court must determine, as  a matter of

            law, whether the constitutional right in question was clearly

            established at  the time of the  alleged violation.  Id.   If
                                                                 ___

            the  right is  clearly established, the  court must  then ask

            whether a  reasonable similarly situated officer "should have

            understood that the challenged  conduct violated" that right.

            Id. 
            ___

                      To  begin,  Soto's   arguments  against   qualified

            immunity appear  to misconstrue  the doctrine.   Soto argues,

            with evidentiary  support, that  not only did  the defendants

            violate Law 54  and the pertinent regulations, but  also that

            they  knew or  reasonably should  have known  that they  were

            violating it.  According to Soto, "[n]o good faith defense is

            possible if  the official  knew he was  violating plaintiff's

            rights."

                      The  Supreme  Court has  considered,  and rejected,

            this approach to qualified immunity.   Davis v. Scherer,  468
                                                   _____    _______

            U.S. 183, 193-95 (1984).  In Davis, the plaintiff argued that
                                         _____

            official  conduct that  contravened a  statute  or regulation

            could  not be  objectively reasonable  because officials  may

            reasonably  be expected  to  conform their  conduct to  legal

            norms.  Id. at 193.  The Court rejected this approach because
                    ___

            it would "disrupt the balance . . . between  the interests in

            vindication of citizens' constitutional rights and in  public

            officials' effective  performance of  their duties."   Id. at
                                                                   ___



                                         -20-
                                          20















            195.   "Officials sued  for constitutional violations  do not

            lose  their qualified immunity  merely because  their conduct

            violates some statutory or administrative provision." Id.  at
                                                                  ___

            194; see also  Borucki v. Ryan,  827 F.2d 836, 847  n.18 (1st
                 ________  _______    ____

            Cir. 1987).  Accordingly, Soto's arguments with regard to Law

            54, even if  her alleged facts are  true, do not resolve  the

            qualified immunity question.  The focus is rather  on whether

            there is clearly settled  law on the constitutional violation

            at issue.      This  inquiry is  sharpened  by two  narrowing

            principles.    The  right  must  be  stated  with  sufficient

            particularity so that a "'reasonable officer would understand

            that what he  is doing  violates that right'"  and the  right

            must  have been  "clearly  established  at  the time  of  the

            defendants' alleged  improper actions, and  . .  . not .  . .

            through the  use of hindsight."  Souza  v. Pina, 53 F.3d 423,
                                             _____     ____

            425 (1st Cir.  1995) (quoting Anderson v. Creighton, 483 U.S.
                                          ________    _________

            635,   640  (1987)).     The  issue   is  thus   whether  the

            constitutional duty  not to affirmatively  abuse governmental

            power so as to  create danger to individuals and  render them

            more  vulnerable to  harm  was clearly  established in  April

            1991, the time of the events giving rise to this suit.

                      What the Third  Circuit termed the  "'state-created

            danger theory,'"  Kneipp v.  Tedder, 95  F.3d 1199,  1201 (3d
                              ______     ______

            Cir. 1996), has been  recognized by some federal courts  as a

            viable mechanism for  establishing a constitutional  claim at



                                         -21-
                                          21















            least  since 1979.  See White  v. Rochford, 592 F.2d 381, 383
                                ___ _____     ________

            (7th Cir.  1979) (finding Due Process  Clause violation where

            "unjustified and arbitrary refusal of police officers to lend

            aid  to children  endangered by  the performance  of official

            duty .  . . ultimately  result[ed] in physical  and emotional

            injury  to the  children");  see also  Cornelius  v. Town  of
                                         ________  _________     ________

            Highland  Lake, 880 F.2d 348  (11th Cir. 1989), cert. denied,
            ______________                                  ____________

            494  U.S. 1066 (1990); Wood  v. Ostrander, 879  F.2d 583 (9th
                                   ____     _________

            Cir. 1989),  cert. denied,  498 U.S.  938  (1990); Checki  v.
                         ____________                          ______

            Webb, 785 F.2d  534, 538  (5th Cir. 1986).  In DeShaney,  the
            ____                                           ________

            Supreme Court  acknowledged that  state  actions that  create

            dangers or  render private  citizens more vulnerable  to harm

            could amount to constitutional violations.  See DeShaney, 489
                                                        ___ ________

            U.S. at 201.  Since DeShaney, seven circuit courts of appeals
                                ________

            have  recognized  that state-created  dangers may,  in proper

            circumstances,  give  rise  to  constitutional  claims  under

            section 1983.  See Kneipp, 95 F.3d  at 1208 (citing cases and
                           ___ ______

            tracing history of state-created danger theory).

                      While  this  history  would appear  to  militate in

            favor of  finding that  there is clearly  established law  in

            this  area, in 1991 the  First Circuit had  not yet addressed

            the issue of state-created dangers.  The first case from this

            court to  discuss the contours  of that doctrine  was Monahan
                                                                  _______

            v.  Dorchester Counseling Ctr., Inc., 961  F.2d 987 (1st Cir.
                ________________________________

            1992), and that case  held that, on the facts  alleged, there



                                         -22-
                                          22















            was no constitutional violation.   Of course, a  violation of

            clearly settled law may be found even where the Supreme Court

            and the  circuit in question have  not specifically addressed

            the question.  See 2 Nahmod, Civil Rights and Civil Liberties
                           ___           ________________________________

            Litigation:  The Law of Section  1983,   8.07,  at 134-35 (3d
            _____________________________________

            ed. 1991) (citing cases). 

                      However,  we cannot  extract a  clearly established

            right from a somewhat confusing  body of caselaw through  the

            use of  hindsight, or "permit claims of qualified immunity to

            turn  on  the  eventual  outcome of  a  hitherto  problematic

            constitutional  analysis."    Martinez-Rodriguez   v.  Colon-
                                          __________________       ______

            Pizarro, 54  F.3d 980, 989  (1st Cir. 1995).   The history of
            _______

            the   state-created   danger   theory,    although   recently

            comprehensively described by the  Third Circuit in Kneipp, is
                                                               ______

            an   uneven  one.   The  distinction   between  affirmatively

            rendering citizens more vulnerable to harm and simply failing

            to protect  them  has been  blurred.   Moreover, courts  have

            sometimes  found that  a  given action,  while rendering  the

            plaintiff  more  vulnerable to  danger, did  not amount  to a

            constitutional violation,  but instead should be  viewed as a

            state law tort.   See, e.g., Cannon v. Taylor,  782 F.2d 947,
                              ____ _____ ______    ______

            950  (11th Cir. 1986).   It is more  recent judicial opinions

            that have  begun to  clarify the  contours of  this doctrine.

            See, e.g., Kneipp,  95 F.3d  at 1208-10; Pinder,  54 F.3d  at
            ____ _____ ______                        ______

            1174-1177.



                                         -23-
                                          23















                      We conclude therefore that, in  1991, "the contours

            of  the right were [not] sufficiently plain that a reasonably

            prudent state actor  would have realized not  merely that his

            conduct  might be  wrong, but that  it violated  a particular

            constitutional right."  Martinez-Rodriguez,  53 F.3d at  988.
                                    __________________

            Accordingly, we find that the defendants are entitled  to the

            protections of  qualified immunity,  and affirm  the district

            court's grant of summary judgment  on plaintiff's substantive

            due process claim.

            B.  The Equal Protection Claim
                __________________________

                      In  DeShaney, the  Supreme Court  acknowledged that
                          ________

            "[t]he  State  may  not,  of  course,  selectively  deny  its

            protective  services to certain disfavored minorities without

            violating the Equal Protection Clause."  489 U.S. at 197 n.3.

                      Soto alleges an  equal protection violation in  her

            assertion  that  "[d]efendants  have  a  custom,  policy  and

            practice of treating complaints from, or on  behalf of, women

            threatened  with violence  in  domestic disputes  differently

            from  other   complaints  of   violence.    Defendants   have

            discriminated  on the  basis of  the  sex of  the complaining

            victim."  The district court measured Soto's equal protection

            claim7 under the standard for such claims brought by domestic

                                
            ____________________

            7.  The  district  court  correctly  found  that  Valdivieso-
                                                              ___________
            Ortiz's  bar   on  section  1983  actions   for  due  process
            _____
            violations based on the death of a family member has not been
            extended to equal protection  claims.  Soto, 878 F.  Supp. at
                                                   ____
            328 n.6.  

                                         -24-
                                          24















            violence  victims that  was  first articulated  by the  Tenth

            Circuit in  Watson v. City of Kansas City, 857 F.2d 690 (10th
                        ______    ___________________

            Cir.  1988),  and  subsequently  adopted  by  several   other

            circuits.  Under the Watson standard, a plaintiff seeking  to
                                 ______

            defeat a motion for summary judgment must:

                      proffer  sufficient  evidence  that would  allow  a
                      reasonable jury to  infer that it is the  policy or
                      custom of the police  to provide less protection to
                      victims  of domestic violence than to other victims
                      of violence, that discrimination against  women was
                      a  motivating factor,  and that  the  plaintiff was
                      injured by the policy or custom.

            Ricketts  v. City  of Columbia,  36 F.3d  775, 779  (8th Cir.
            ________     _________________

            1994)  (citing Watson, 857 F.2d at 694), cert. denied, 115 S.
                           ______                    ____________

            Ct. 1839 (1995).

                      The  district court  found  that  Soto had  adduced

            sufficient evidence to  create a genuine issue  as to whether

            the police force  had a  custom or policy  of providing  less

            protection  to victims  of  domestic violence  than to  other

            assault  victims.  Soto, 878 F. Supp. at 329.  We agree.  The
                               ____

            court also found that plaintiff had failed to meet her burden

            in opposing  summary judgment8  on either the  discriminatory

            intent prong or  the causation prong of the  Watson standard.
                                                         ______

            Id. at 332.
            ___

                                
            ____________________

            8.  It  was  part  of  Soto's  prima  facie  case  to proffer
            sufficient  evidence  of discriminatory  intent.   See, e.g.,
                                                               __________
            Lipsett, 864 F.2d at  896.  In opposing summary  judgment, it
            _______
            was  Soto's  burden to  adduce  sufficient  evidence of  that
            intent  to   create  a  trialworthy  issue.     See  National
                                                            ___  ________
            Amusements,  Inc. v. Town of Dedham, 43 F.3d 731, 743-44 (1st
            _________________    ______________
            Cir.), cert. denied, 115 S. Ct. 2247 (1995).  
                   ____________

                                         -25-
                                          25















                      In a matter of first impression  for this court, we

            adopt the  Watson standard for section  1983 equal protection
                       ______

            claims brought  by domestic violence victims.   Several other

            circuits have  considered similar  claims.   These  tragedies

            follow  a  sadly  similar  pattern; an  abuse  victim,  after

            repeatedly  seeking police  protection  from  her abuser,  is

            gravely injured or  killed.  The victim, or  her next of kin,

            claims  under  section  1983  that law  enforcement  policies

            provide lesser protection to victims of domestic violence and

            discriminate  on the basis of  gender.  See,  e.g, Navarro v.
                                                    __________ _______

            Block,  72 F.3d 712 (9th  Cir. 1996); Eagleston  v. Guido, 41
            _____                                 _________     _____

            F.3d 865 (2d Cir. 1994), cert. denied, 116 S.  Ct. 53 (1995);
                                     ____________

            Ricketts, 36 F.3d at  775; Brown v. Grabowski, 922  F.2d 1097
            ________                   _____    _________

            (3d  Cir. 1990), cert. denied, 501 U.S. 1218 (1991); McKee v.
                             ____________                        _____

            City of Rockwall, 877 F.2d 409 (5th Cir. 1989), cert. denied,
            ________________                                ____________

            493 U.S. 1023 (1990); Watson, 857 F.2d at 690.
                                  ______

                      Under the  standard we adopt today,  Soto must show

            that there is a policy or custom of providing less protection

            to  victims  of domestic  violence than  to victims  of other

            crimes, that  gender discrimination  is a  motivating factor,

            and that Soto was  injured by the practice.   See Watson, 857
                                                          ___ ______

            F.2d  at 694.  Soto has adduced evidence sufficient to create

            an  issue as  to  whether there  was  a custom  or policy  of

            providing  less  protection  to  domestic  violence  victims.

            Closer questions are whether Soto adduces evidence sufficient



                                         -26-
                                          26















            to permit the drawing of the necessary inference of an intent
                                                                   ______

            to  discriminate  against  women  and  whether Soto  provides

            sufficient  evidence that  her  injuries were  caused by  the
                                                           ______

            alleged custom or policy. 

                      Soto's argument may be  summarized as follows:  (1)

            that the Preamble to Law 54 explicitly recognizes that "women

            are usually the victims of . . . conjugal abuse" and that Law

            54  expresses  a  legislative  intent to  protect  women  and

            children from  domestic violence;9 (2) that,  although 95% of

            domestic violence  complaints involve females  as victims and

            males  as perpetrators, one out of every four persons in jail

            in Puerto  Rico for domestic  violence is female;10  (3) that

            statements  of  the individual  in  charge of  the  police in

            Puerto Rico, Betancourt-Lebron, demonstrate  both that Law 54

            is not enforced as  are other laws and that  his disagreement

            with the law, which may reasonably be understood to be gender

            motivated,   has  led   to  non-enforcement   by  subordinate


                                
            ____________________

            9.  Law 54  has been  noted in  academic literature  for "its
            ambitious and comprehensive  approach to domestic  violence."
            See Rivera,  Puerto Rico's  Domestic Violence Prevention  and
            ___          ________________________________________________
            Intervention Law and the United States Violence Against Women
            _____________________________________________________________
            Act  of 1994:  The  Limitations of  Legislative Responses,  5
            _________________________________________________________
            Colum.  J. Gender &amp; L. 78,  80 (1995).  Rivera also describes
            how official resistance to  Law 54 has been an  impediment to
            implementation.  Id. at 94-95.
                             ___

            10.  While  Soto admits  that  she presented  no evidence  of
            arrest  rates  for  men  charged with  domestic  violence  as
            compared  to arrest  rates  for women  charged with  domestic
            violence, she  asserts that such  comparisons are  impossible
            because Puerto Rico has chosen not to gather this data. 

                                         -27-
                                          27















            officers; (4) that there  was no police training  on domestic

            violence prior to the events at issue; (5) that statements by

            Sergeant   Orta,  and   Officers   Flores  and   Carrasquillo

            acknowledge that  police officers in the  Rio Grande precinct

            in  1991 did  not  enforce Law  54;  (6) that  statements  by

            individual officers demonstrate gender bias and stereotyping,

            indicating that  the Law was not  enforced for discriminatory

            reasons; (7) that the non-discriminatory  reasons offered for

            the  non-enforcement are  pretextual;  (8) that  differential

            enforcement of Law  54 therefore permits  an inference of  an

            intent to discriminate; and (9) that her injuries were caused

            by the non-enforcement of the domestic violence law. 

                      Defendants argue that no intent to discriminate can

            be inferred  from mere  non-enforcement of  a law.   It  is a

            truism   that   under   current   Equal   Protection   Clause

            jurisprudence, a showing of disproportionate impact  alone is

            not enough  to establish  a constitutional violation.11   See
                                                                      ___

            Washington  v. Davis,  426  U.S. 229,  242  (1976).     While
            __________     _____

            "impact  provides an  important starting  point" for  a court

            seeking to determine if the adverse effect reflects invidious

            gender-based  discrimination,  "purposeful discrimination  is


                                
            ____________________

            11.  "The Court's refusal to treat  selective indifference as
            an  equal protection  violation suggests  a preference  for a
            stingy process  theory  over one  that invites  surreptitious
            introduction of  impact analysis."  Klarman,  An Interpretive
                                                          _______________
            History of Modern Equal Protection, 90 Mich. L. Rev. 213, 299
            __________________________________
            (1991).

                                         -28-
                                          28















            'the condition that  offends the  Constitution.'"   Personnel
                                                                _________

            Administrator v.  Feeney, 442 U.S. 256,  274 (1979) (citation
            _____________     ______

            omitted) (upholding  a veteran's preference  in civil service

            hiring  where  98%  of   veterans  were  male).  "[T]he  mere

            existence  of disparate  treatment --  even  widely disparate

            treatment -- does not furnish adequate basis for an inference

            that  the  discrimination  was   [impermissibly]  motivated."

            Dartmouth  Review  v.  Dartmouth  College, 889  F.2d  13,  19
            _________________      __________________

            (1989);  see Siegel,  "The  Rule of  Love":  Wife Beating  as
                     ___          _______________________________________

            Prerogative  and   Privacy,  105  Yale   L.J.  2117,  2190-94
            __________________________

            (1996)(modern  doctrines of equal  protection have encouraged

            the  development   of  facially  neutral  policies  that  are

            difficult to challenge on constitutional grounds). 

                      A  domestic violence  victim  seeking  to prove  an

            equal protection  violation must thus show  that the relevant

            policymakers and actors  were motivated, at least in part, by

            a  discriminatory purpose.   Feeney,  442 U.S.  at 274.   The
                                         ______

            Supreme Court has defined discriminatory purpose as being:

                      more than intent as volition or intent as
                      awareness of  consequences.  . .  .    It
                      implies  that  the  decisionmaker  .  . .
                      selected or reaffirmed a course of action
                      at least in part "because of," not merely
                      "in spite of" its adverse effects upon an
                      identifiable group.  

            Id. at 279.
            ___

                      Without   the    smoking   gun   of    an   overtly

            discriminatory statement  by a decisionmaker, it  may be very



                                         -29-
                                          29















            difficult  to offer  sufficient  proof of  such a  purpose.12

            See, e.g., Eagleston, 41 F.3d at 878 (statistics showing that
            __________ _________

            domestic violence  complaints were  less likely to  result in

            arrest than were stranger  assault complaints and evidence of

            underenforcement of official domestic violence policy did not

            constitute  evidence of  discriminatory  intent or  purpose);

            Ricketts, 36 F.3d  at 781  (although over 90%  of victims  of
            ________

            domestic  abuse  are  women,  and police  statements  offered

            support for  discriminatory intent toward  domestic disputes,

            plaintiff  presented no  evidence  of intent  to discriminate

            against women).     It is true, as Soto points out, that some

            courts  have allowed the  equal protection claims of domestic

            violence victims  to proceed  on an arguably  lesser showing.

            See  Balistreri, 901  F.2d  at 701  (remark  of officer  that
            ___  __________

            plaintiff's  husband was entitled to hit  her because she was

            "carrying on" suggested an animus against women sufficient to

            allow plaintiff's  complaint to survive  motion to  dismiss);

            Thurman  v. City of Torrington,   595 F.  Supp. 1521, 1528-29
            _______     __________________

            (D. Conn.  1984)(viewing equal  protection claim of  domestic

            violence   victim   in   terms   of   "increasingly  outdated

            misconception"  of husband's  prerogative  to discipline  his

                                
            ____________________

            12.  As  the Third  Circuit has recognized  in the  Title VII
            context, it is rare that discrimination wears its garb openly
            and it more often comes "masked  in subtle forms."  Triers of
            fact  may recognize those more subtle forms for what they are
            and coded  comments may  raise inferences  of discrimination.
            Aman v. Cort Furniture  Rental Corp., 85 F.3d 1074,  1082 (3d
            ____    ____________________________
            Cir. 1996). 

                                         -30-
                                          30















            wife)  (internal  quotation  marks  and  citation  omitted)).

            However, we think that the stringent standards imposed by the

            majority  of circuit  courts  are more  in  keeping with  the

            Supreme  Court's approach  to equal protection  challenges to

            facially  neutral  policies.   It is  in  this light  that we

            evaluate Soto's equal protection claim. 

                      This is not the usual case in which plaintiffs seek

            to  prove  discriminatory  intent   from  the  mere  fact  of

            differential  impact.  Nor is this the more common case where

            a  plaintiff in a civil rights action seeks to use the courts

            to upset the  majoritarian preferences expressed  through the

            legislative  process.    Rather,  plaintiff  here  seeks  the

            benefit  of  the  protection afforded  by  that  majoritarian

            legislative process and argues that  she has been deprived of

            that protection by the actions of individual public officials

            motivated by a contrary, gender-discriminatory intent.

                      The  statutory   language  of  Law   54,  and   the

            legislative  intent  evident  from  its  preamble,  serve  to

            differentiate  this case  from the  typical  disparate impact

            case. The Law's prefatory "Statement of Motives" states that:

                      Although  men as  well  as  women may  be
                      victims of conjugal  abuse, studies  show
                      that women are usually the victims of the
                      aggressive  and  violent conduct  that we
                      call   conjugal   abuse.   .   .   .  The
                      investigators  figure  that  60%  of  all
                      married women in  Puerto Rico are victims
                      of conjugal abuse.
             



                                         -31-
                                          31















            Statement   of   Motives,  Domestic   Abuse   Prevention  and

            Intervention  Act,  Act  No.  54  (Aug.   15,  1989)(citation

            omitted).   This  recognition  that the  problem of  domestic

            violence impacts women most heavily is reiterated in the text

            of Law 54 itself:

                      In developing  the public policy  on this
                      matter, we  must  give attention  to  the
                      handling   of   the   difficulties   that
                      domestic  abuse presents,  especially for
                                                 ______________
                      women and children.  
                      __________________

            P.R. Laws ann. tit.  8,   601 (Supp. 1995)  (emphasis added).

            Law  54 also  explicitly  recognizes that  discrimination has

            impeded   institutional   responses  to   domestic  violence:

                      Domestic  abuse   is  one  of   the  most
                      critical manifestations of the  effect of
                      inequities  in the  relationships between
                      men and women.  The discriminatory ideas,
                      attitudes,  and   conduct  also  permeate
                                                       ________
                      those social institutions called  upon to
                      _________________________________________
                      resolve  and  prevent   the  problem   of
                      _________________________________________
                      domestic  abuse  and  its consequences.  
                      _______________________________________
                      The  efforts  of  these  institutions  to
                      identify,  understand  and  handle  abuse
                      have been limited, and often inadequate.

            Id. (emphasis added).
            ___
             
                      In  the  more  usual   equal  protection  case,   a

            plaintiff will  present evidence  of disparate impact  upon a

            disfavored  group  in an  attempt  to  provide an  "important

            starting  point" for  proof of  discriminatory intent.   See,
                                                                     ___

            e.g.,  Feeney, 442  U.S.  at 274.    Here, the  Statement  of
            ____   _______

            Motives of  Law 54  contains an explicit  legislative finding

            that  domestic violence has a greater impact on women and the



                                         -32-
                                          32















            Law  expresses  an intent  to ameliorate  that impact.   This

            legislative finding is evidence that underenforcement  of Law

            54  would indeed  have a  greater impact  on women  and might

            therefore be motivated by gender discrimination.

                      Moreover, the express legislative desire  to assist

            women  victims of  domestic violence  and recognition  of the

            problem of discrimination within responsible institutions are

            important  factors to be considered in the "give and take" of

            the   situation.     See  Feeney,   442  U.S.  at   279  n.24
                                 ___  ______

            (discriminatory  intent is  often "made  clear from  what has

            been called  . .  . 'the  give and  take of  the situation'")

            (citation  omitted).   The Supreme  Court has  said that  the

            discriminatory  intent inquiry  should look  not only  at the

            different impact a policy has on a disfavored group, but also

            at the history behind the development of a  policy, including

            looking  at the  problems it  was intended  to address.   See
                                                                      ___

            Arlington Heights, 429 U.S. at 266-68. 
            _________________

                      To  the extent  that decisions  such as  Feeney and
                                                               ______

            Arlington  Heights are  rooted  in  an  appropriate  judicial
            __________________

            deference  to democratic  processes and  rational legislative

            preferences, the  rationale of  deference is  less compelling

            here.  See,  e.g., Feeney, 442 U.S. at 271  ("The calculus of
                   ___   _____ ______

            effects, the manner in which a particular law reverberates in

            a   society,   is   a   legislative  and   not   a   judicial

            responsibility. . . .[I]t  is presumed that 'even improvident



                                         -33-
                                          33















            decisions  will  eventually be  rectified  by  the democratic

            process. . . .'" (citations omitted)); Arlington Heights, 429
                                                   _________________

            U.S. at 265 ("[I]t  is because legislators and administrators

            are  properly concerned  with  balancing  numerous  competing

            considerations that  courts refrain from reviewing the merits

            of  their decisions,  absent  a showing  of arbitrariness  or

            irrationality.").   With  Law 54,  the legislature  of Puerto

            Rico has expressed, through the democratic process, an intent

            to protect the female  victims of domestic violence and   has
                                                                ___

            noted that enforcement agencies have been discriminatory  and

            part of the  problem.   Thus, underenforcement of  Law 54  by

            those charged with  administering the  law may in  fact be  a

            subversion   of   majoritarian   processes  for   individual,

            illegitimate  motives.   We  believe, in  this context,  that

            action by officials leading to non-enforcement of Law  54 may

            be  some   evidence   of  discriminatory   intent  by   those
                ____

            individuals.  The policy Soto  challenges is, of course,  not

            Law 54, but the  decision not to  implement the Law when  she

            sought its  protections.   In determining what,  if anything,

            motivated  that decision,  the  factfinder  may consider  the

            purposes of  the Law itself, and  draw appropriate inferences

            about what might motivate a decision not to effectuate  those

            purposes.   As the Law  expressly seeks to  aid women victims

            and  eradicate  institutional  discriminatory   attitudes,  a

            decision  not  to  implement  the  Law  may  well  have  been



                                         -34-
                                          34















            motivated not "in spite  of," but "because of"  the resulting

            impact on women.  We  review the record to see  whether there

            issufficient evidence of intentas to eachof named defendants.
              __________

                      1. The Rio Grande Precinct
                      __________________________

                      In reviewing whether the  failure to enforce Law 54

            was motivated by discriminatory intent, we look first  to the

            actions of the officers in the Rio Grande precinct.  The  key

            actor at the precinct level was Sergeant Orta.  Orta was told

            Soto  was making a  Law 54 complaint, yet  he signed an Other

            Services Report in violation  of Law 54 and took  no steps to

            have Rodriguez arrested.  Nor did he take any steps to remove

            Soto  and her children from harm's  way.  He knew that Flores

            was  going to talk to Rodriguez and  did not try to stop him.

            He thus ratified and condoned  the officers' disregard of Law

            54. 

                      Orta's  statements, as  described below,  suggest a

            discriminatory attitude towards women; this attitude may have

            been one of the reasons behind the lack of enforcement of Law

            54  at  the Palmer  substation  of the  Rio  Grande precinct.

            Sergeant Orta  made statements  which a trier  of fact  could

            easily  find  reveal  gender-discriminatory  stereotypes  and

            biases.  He testified as follows:

                      Q: What is your opinion of Act 54?

                      A: I told you the first time, and I remit
                      myself to the record,  that I am in total
                      disagreement  with that  Act.   I believe
                      that  it   is  very  unjust   related  to


                                         -35-
                                          35















                      aggressions  against women  and I  do not
                      agree with that.

                      Q: Why  do you believe it  is very unjust
                      with  relation   to  aggressions  against
                      women?

                      A:  Sometimes  men,  including myself  of
                      course,  but sometimes one  drinks on the
                      outside or has a  woman on the side  or a
                      friend  on  the  side,  and  one  has  an
                      argument with one's lady friend  and goes
                      home and takes it out on the wife.  And I
                      believe that is not just.

                                     . . .

                      Q: Then  I ask  you, again, what  is your
                      opinion with relation to the law?

                      A: Well,  the thing  is that the  law, in
                      spite  of it  mentioning both  parties as
                      being  able  to  complain, the  woman  is
                      always   the   person  who   is  injured.
                      Credibility  is given to the woman, where
                      there  are  occasions  when that  doesn't
                      happen that way. 


                      The weight to be  given to Sergeant Orta's comments

            depends upon many factors.   See National Amusements, 43 F.3d
                                             ___________________

            at 743 (ambiguous comments standing alone are insufficient to

            raise an  inference of racial  animus).  The  defendants here

            have  not offered a  plausible alternative interpretation for

            comments  which  in  context  suggest  discrimination.    See
                                                                      ___

            Alexis v. McDonald's Restaurants, Inc., 67 F.3d 341, 348 (1st
            ______    ____________________________

            Cir. 1995) ("[A] rational factfinder would be hard-pressed to

            glean  a  more   plausible  inference  [than   discriminatory

            intent],  particularly  since  [defendant]  has  tendered  no

            alternative   interpretation   supported   by   the   present


                                         -36-
                                          36















            record.").   The comments were made by a person whose actions

            allegedly contributed to the plaintiff's injury.  

                      Sergeant Orta's statements are very troubling.  His

            hostility  to  enforcing  the  domestic  violence  law  could

            certainly be understood as  arising from archaic  stereotypes

            which  assume that  men  enjoy  certain prerogatives  towards

            women,    including    beating    them.13        Gender-based

            "classifications may  not  be used,  as  they once  were,  to

            create   or  perpetuate  the   legal,  social,  and  economic

            inferiority of women."  United States v. Virginia, 116 S. Ct.
                                    _____________    ________

            at  2275 (citation omitted).  Although Sergeant Orta is not a

            defendant here,  he was  a supervisor  and his  attitudes are



                                
            ____________________

            13.  "The Anglo-American common law originally  provided that
            a husband, as master of his household, could subject his wife
            to corporal  punishment or 'chastisement'  so long as  he did
            not inflict permanent injury upon her."  Siegel, "The Rule of
                                                             ____________
            Love": Wife Beating as Prerogative and Privacy, 105 Yale L.J.
            ______________________________________________
            at  2118.  This "right"  of  chastisement  was recognized  by
            Blackstone's  Commentaries  in  the eighteenth  century.    1
            William Blackstone, Commentaries *444.  A wife could turn  to
                                ____________
            a court for protection through  a writ of supplicavit.  Id.  
                                                                    ___
            The doctrine of  chastisement was met with  some disfavor and
            was not universally accepted in American  legal culture.  See
                                                                      ___
            Tapping  Reeve, The Law of  Baron and Femme;  of Guardian and
                            _____________________________________________
            Child; of Master  and Servant; and of the Power  of Courts of
            _____________________________________________________________
            Chancery 65  (New Haven, Oliver Steele  1816); Siegel, supra,
            ________                                               _____
            at 2124.
                      By the late nineteenth  century, around the time of
            the enactment of the Equal Protection Clause, the doctrine of
            the  right  of  chastisement  had fallen  into  disrepute  in
            America.     The  Supreme  Judicial  Court  of  Massachusetts
            expressly repudiated  the doctrine in 1871.   Commonwealth v.
                                                          ____________
            McAfee,  108  Mass.  458  (1871).    Alabama  repudiated  the
            ______
            doctrine  that  same year.   Fulgham  v.  State, 46  Ala. 143
                                         _______      _____
            (1871).

                                         -37-
                                          37















            evidence  of whether  the failure  to enforce  Law 54  at the

            precinct level was based on discrimination.  

                      Law 54  was enforced sporadically, at  best, in the

            precinct  in  1991.   Officer  Flores  testified that  almost

            everyone in  his police detachment  "shied away from"  Law 54

            complaints.   Asked  what  happened to  the victims  when the

            officers did  not want to take  complaints, Flores responded,

            "Well, they  had to continue complaining."   Flores testified

            that proper Law 54 procedures were followed only about 75% of

            the  time, and then just by certain officers.  Sergeant Orta,

            Flores's  direct  supervisor, stated  that,  despite Law  54,

            domestic violence  complaints were not given great importance

            in  1991 and were commonly  handled in the  station as "Other

            Services" reports.  There would  certainly be enough facts to

            raise a reasonable inference that the failure to  enforce Law

            54 at the precinct level was based on gender discrimination.

                      That, however,  does not answer the  question as to

            whether Officer  Flores, who is the defendant here, acted out

            of   gender-based   discriminatory  intent   in   talking  to

            Rodriguez.   It was  not within Flores's  responsibilities to

            take Soto's complaint  or to  arrest Rodriguez.   We find  no

            evidence to  suggest that  Flores's motivation in  talking to

            Rodriguez was  based on gender  discrimination.  There  is no

            evidence that  Flores himself attempted  to avoid enforcement

            of  Law  54 at  all,  much less  for  discriminatory reasons.



                                         -38-
                                          38















            Flores, despite  the lack of official  training, undertook to

            get some  training for himself.  When Soto came to the Palmer

            substation, Flores  called in the two  patrol officers, whose

            responsibility  it was to take  the complaint and  act on it.

            Flores described  Soto's complaint as  a Law 54  complaint to

            the patrol officers, as he did to Sergeant Orta.  There is no

            evidence  that  Flores  intervened and  talked  to  Rodriguez

            because  of  a  gender-discriminatory  motive;   rather,  the

            relationship between the two  men provides a strong inference

            that Flores believed his friendship could  provide a basis to

            resolve the  matter.  Sadly, he was wrong.  That he was wrong

            does  not  turn  his  action into  one  motivated  by  gender

            discrimination.  

                      2. Police Superintendent Betancourt-Lebron
                      __________________________________________

                      Plaintiff   asserts  that   Betancourt-Lebron,  the

            superintendant of police for the Commonwealth of Puerto Rico,

            should  be  held responsible  because  he  failed to  provide

            adequate  training,  and  because  that failure  was  due  to

            gender- discriminatory  bias.14  This claim  is based largely

                                
            ____________________

            14.  We will assume  arguendo, but do not decide,  that there
            was  evidence of a causal  link between lack  of training and
            the events at  the precinct.   The street  level officers  --
            Flores and Carrasquillo -- both  testified that they had  not
            received formal training on Law 54, and were not even given a
            copy of the law.  Both officers were left with understandings
            of the law that were flatly wrong.  Both erroneously believed
            that the victim had  to specifically request a Law  54 order,
            and that  the victim had to  sign a closed report  if she did
            not wish to  proceed to  get a restraining  order.   Sergeant
            Orta  also testified  that he  did not  receive comprehensive

                                         -39-
                                          39















            on Betancourt-Lebron's public statements.   For example, when

            Law 54  had  been in  effect  for eight  months,  Betancourt-

            Lebron, was quoted in the press as saying:

                      I  don't believe that [Law 54] is solving
                      anything because it  has not lessened the
                      fights  between husbands  and wives.   On
                      the contrary, there  is evidence that  it
                      continues to increase. 

            He  went on  to  say that  domestic  violence should  not  be

            treated  with  laws  that  punish the  aggressors,  but  with

            psychologists   and  social  workers.     This  statement  of

            disagreement  with the  law's  decision to  criminalize  such

            conduct  is not,  in  itself, a  statement of  discriminatory

            intent.    Plaintiff posits  that  the  statement in  context

            should be read as discriminatory.

                      Soto's expert witness,  Mercedes Rodriguez,  opined

            that, because  one of the  most dramatic changes  achieved by

            Law  54 was  the criminalization  of domestic  violence, this

            statement by  Betancourt-Lebron was  "one of the  most severe

            blows, that a public official of [his] stature" could give to

            the law.  Rodriguez  called these statements "a  deviation on

            the  part  of the  institutional leadership."     It  was the

            position of the Women's  Affairs Commission that Betancourt's

            public  statements  "would promote  rank and  file's negative

            attitudes  toward women  victims and  their rights  under Law

                                
            ____________________

            training in Law 54  until 1993, two years after  the incident
            at issue here.


                                         -40-
                                          40















            54."  The  Superintendent's public statements, in  opposition

            to   a  law  he  was  charged  with  enforcing,  were  widely

            disseminated.   It is reasonable  to infer, as  Soto's expert

            and   the  Women's  Affairs  Commission  suggest,  that  they

            influenced many of the rank and file in the police.  But that

            the statements  had influence does  not mean  that they  were

            motivated by discrimination.

                      Additionally,  Betancourt-Lebron acknowledged  that

            he   foresaw  that  police   officers  would   have  problems

            implementing  Law 54  because  its procedures  differed  from

            other  laws,  and because  "of  active  resistance from  some

            members of the Force toward the law."  There  is no evidence,

            however, that he was aware of discriminatory attitudes at the

            Rio  Grande precinct,  much less  that, in  the face  of such

            knowledge, he failed to act to curb those attitudes.   Nor is

            there  any comparative evidence as  to what, if any, training

            Betancourt-Lebron implemented  when other new  laws went into

            effect.    Evidence  that  Law  54,  which  was  specifically

            intended to assist abused women, was handled differently than

            other new  major law enforcement initiatives  could, perhaps,

            support  an  inference of  discriminatory  intent.   But  the

            record is devoid of such evidence.

                      Somewhat  more   probative  of  Betancourt-Lebron's

            intent  is   his  relationship  with   the  Women's   Affairs

            Commission.   Betancourt-Lebron declined to meet,  for a year



                                         -41-
                                          41















            after  approval   of  Law   54,  with  the   Women's  Affairs

            Commission.    Law  54  directs the  Commission  to  evaluate

            implementation  of the law and to promote the response of law

            enforcement  agencies to victims.  See P.R. Laws ann. tit. 8,
                                               ___

               651 (Supp. 1995).   The initial report  of the Commission,

            covering   the   first   year   of   implementation,   noted:

            "Coordination  with  the  Police  of  Puerto  Rico  to  train

            personnel  as to domestic  violence problems  and Law  54 has

            been  virtually  impossible."    In  fact,  Betancourt-Lebron

            returned none of the  numerous phone calls or letters  to him

            from  the  Executive  Director  of the  Commission,  who  was

            concerned  about  the  Police Department's  apparent  lack of

            interest in implementing the law.

                      In  the  end,  this  evidence,  while  painting  an

            unwholesome  picture,  is  not  enough  to  meet  the  strict

            standards  imposed   by   the  Supreme   Court  for   showing

            discriminatory intent in equal  protection claims.  As Feeney
                                                                   ______

            says, the intent to be shown must be more than an  "awareness

            of  consequences."  Feeney, 442  U.S. at 279.   The defendant
                              ________

            must have "selected . . . a course of action at least in part

            'because  of' not merely 'in spite of' its adverse effects on

            an identifiable  group."  Id.  An  expression of disagreement
                                      ___

            with Law  54 and a  failure to meet with  the Women's Affairs

            Commission, while  some evidence of  discriminatory intent on





                                         -42-
                                          42















            the  part  of Betancourt-Lebron,  is too  slender a  stalk on

            which to rest.

                      Thus, we  conclude that plaintiff  has fallen short

            of  her  difficult burden  of  proving discriminatory  intent

            against  these   defendants  as   required  to  establish   a

            constitutional  tort.   In  so saying,  we  do not  of course

            condone the actions and failures of duties we have described.

            The  deaths of children,  which may have  followed from risks

            arguably created by the actions of public officials, are very

            serious   matters.  Whether   this  deplorable   scenario  is

            actionable  under Puerto Rican law  we leave, as  we must, to

            others.

                      Accordingly,  the grant of summary judgment against

            plaintiff is affirmed.
                         ________

























                                         -43-
                                          43















                      TORRUELLA,  Chief Judge (concurring). I concur with
                      TORRUELLA,  Chief Judge (concurring).
                                  ___________

            the majority's opinion.  I  am of the view that  the District

            Court should  be affirmed for substantially  the same reasons

            and  grounds as  are stated  in the  opinion of  the District

            Court. 











































                                         -44-
                                          44









